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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION

DARRYLE POLLARD,

         Plaintiff,                                   Case No. 1:18-cv-00404-GJQ-PJG

v.                                                    HON. GORDON J. QUIST

CITY OF MUSKEGON HEIGHTS,
BRANDON M. DEKUIPER,
MICHAEL T. EDENS, and
MICHAEL M. RATLIFF,
In their individual and official capacities,

        Defendants.
____________________________________________________________________
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Shawn C. Cabot (P64021)                               Robert A. Callahan (P46700)
Attorneys for Plaintiff                               Attorneys for Defendants
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                                      PROOF OF SERVICE

       Robert A. Callahan, Attorney in the Law Firm of PLUNKETT COONEY says that on the
14th day of September, 2018, I electronically filed Proof of Service with the Clerk of the
Court using the ECF system, which will provide electronic copies to counsel of record, and I
certify that my secretary has mailed Defendants’ First Set of Interrogatories and
Requests to Produce Directed to Plaintiff and Defendants’ Expert Interrogatories
Directed to Plaintiff by U.S. Postal Service to the attorneys of record addressed to their last
known address as follows:

Christopher J. Trainor, Esq.
Shawn C. Cabot, Esq.
CHRISTOPHER TRAINOR & ASSOCIATES
9750 Highland Road
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                                               _/s/ Robert A. Callahan_________________
                                               Robert A. Callahan
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